       Case 2:18-mc-01001-DWA Document 2 Filed 10/17/18 Page 1 of 2




                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: DIISOCYANATES ANTITRUST
LITIGATION                                                                             MDL No. 2862



                                  (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −1)



On October 3, 2018, the Panel transferred 2 civil action(s) to the United States District Court for the
Western District of Pennsylvania for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See __F.Supp.3d__ (J.P.M.L. 2018). Since that time, no additional action(s) have
been transferred to the Western District of Pennsylvania. With the consent of that court, all such
actions have been assigned to the Honorable Donetta W. Ambrose.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Western District of Pennsylvania and assigned
to Judge Ambrose.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Western District of Pennsylvania for the reasons stated in the order of October 3, 2018, and, with the
consent of that court, assigned to the Honorable Donetta W. Ambrose.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Western District of Pennsylvania. The transmittal of this order to said Clerk
shall be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk
of the Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:

      Oct 12, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
       Case 2:18-mc-01001-DWA Document 2 Filed 10/17/18 Page 2 of 2




IN RE: DIISOCYANATES ANTITRUST
LITIGATION                                                                  MDL No. 2862



                   SCHEDULE CTO−1 − TAG−ALONG ACTIONS



 DIST       DIV.      C.A.NO.      CASE CAPTION


ALABAMA NORTHERN

  ALN         2       18−01391     Finishing Solutions LLC v. Bayer AG et al

MICHIGAN EASTERN

  MIE         2       18−12357     Era Polymers Proprietary Limited v. BASF SE et al

NEW JERSEY

  NJ          2       18−12864     RHINO LININGS CORPORATION v. BASF SE et al
  NJ          2       18−13617     NPC COATING, INC. v. BASF SE et al
  NJ          2       18−14043     TRI−ISO TRYLINE, LLC v. BASF CORP. et al

NEW YORK SOUTHERN

  NYS         7       18−06882     Elliott Company of Indianapolis, Inc. v. Bayer A.G. et al
  NYS         7       18−07852     Bryn Hill Industries, Inc. v. BASF AG et al

PENNSYLVANIA EASTERN

  PAE         2       18−02958     EMMA CHEMICALS CO., INC. v. BASF SE et al
  PAE         5       18−03438     UNICAST, INC. v. BAYER A.G. et al
